Case 1:21-cv-00279-JJM-PAS Document 1 Filed 07/02/21 Page 1 of 24 PageID #: 1




                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF RHODE ISLAND

 LOUIS KWAME FOSU,                                       :
    Plaintiff,                                           :
                                                         :
 v.                                                      :               C.A. No.:
                                                         :               Jury Trial Demanded
 THE UNIVERSITY OF RHODE                                 :
 ISLAND, UNIVERSITY OF                                   :
 RHODE ISLAND BOARD OF                                   :               COMPLAINT FOR
 TRUSTEES, DAVID M. DOOLEY,                              :               MONEY DAMAGES,
 PRESIDENT, THE UNIVERSITY                               :               DECLARATORY
 OF RHODE ISLAND, DONALD                                 :               AND INJUNCTIVE
 DEHAYES, PROVOST AND VICE                               :               RELIEF
 PRESIDENT FOR ACADEMIC                                  :
 AFFAIRS, AND JEANNETTE E.                               :
 RILEY, DEAN, COLLEGE OF                                 :
 ARTS & SCIENCES, in their                               :
 individual and official capacities,                     :
      Defendants.                                        :



                                          COMPLAINT

        Plaintiff Louis Kwame Fosu (“Plaintiff” or “Professor Fosu”), by and through his

undersigned counsel, files the following Complaint against Defendants seeking declaratory and

injunctive relief and money damages as well as attorneys’ fees, litigation expenses and other

equitable relief, and in support thereof alleges the following:

                                        INTRODUCTION

  1. Plaintiff was a member of the faculty at Defendant University of Rhode Island (hereinafter

      “Defendant” or “URI”).




                                                  1
Case 1:21-cv-00279-JJM-PAS Document 1 Filed 07/02/21 Page 2 of 24 PageID #: 2




  2. URI first recruited Plaintiff to be a Visiting Professor with URI’s Honors Program in Spring

     of 2019, and later, based on his excellent performance, asked him to teach additional classes,

     and to join the Political Science Department Faculty of Practice.

  3. For purposes of this Complaint, and a separate and important fact that explains Defendants’

     racially motivated violations of law, it is important to note that Plaintiff is a black man.

  4. Plaintiff joined URI’s faculty based on URI’s claimed commitment to educational

     excellence, and importantly, diversity and inclusion.           URI’s website trumpets its

     commitment to diversity and inclusion as follows:

           To cultivating an academic, working, and living environment that promotes
           excellence. We believe that we have much to learn from one another and we
           are dedicated to providing the means to making that happen through policy-
           making, programming, critical conversations, thoughtful action, and
           collaboration between administration, faculty, staff and students.

           Community, Equity and Diversity (CED) is here to support you and to connect
           you with the people and resources to be successful at URI.

           We’re glad you’re here. (Available here: PDF of URI)

  5. Plaintiff took URI at its word, and its support for diversity and inclusion. At first, Plaintiff

     was glad he was at URI. As recounted herein, and as the facts demonstrate, Plaintiff was

     seriously wrong about his assessment of URI’s commitment to diversity and inclusion.

  6. URI has no commitment to diversity – present or past – and continues to cling to systemic

     racially discriminatory practices.

  7. When challenged on its discriminatory record, URI, as an institution, and the individual

     Defendants, collectively and separately, carried out a vicious and aggressive campaign to

     destroy Plaintiff, attacked his reputation and drove him out of URI by concocting false

     allegations of misconduct and launching baseless and pretextual investigations of Plaintiff.



                                                 2
Case 1:21-cv-00279-JJM-PAS Document 1 Filed 07/02/21 Page 3 of 24 PageID #: 3




  8. URI’s record on racial diversity is abysmal. In this era of racial awareness, URI stands apart

     as an institution with little diversity in its faculty, administration, staff and students. In fact,

     beyond mere puffery, URI has no culture of diversity or inclusion.

  9. The facts tell the story. According to recent data, URI’s faculty has a mere 3 percent of

     black representation, and its student body consists of less than 5 percent black students. In

     comparison, Rhode Island College has more than double the number of black students at 10

     percent.

  10. Compounding this blatant discriminatory environment, is the basic fact that URI’s

     leadership has no diverse representation. Indeed, after a recent search for a new President,

     URI selected another in a long line of white, male leaders, rejecting accomplished and

     diverse candidates.

  11. It was against this context, and unknowingly in this type of community, that Plaintiff joined

     URI’s Department of Political Science.

  12. URI describes Plaintiff as “a policy expert,” who “earned a Juris Doctorate from

     Georgetown University Law Center,” along with an M.B.A. and a B.A. from other respected

     academic institutions; who has “served as a special advisor” to U.S. and foreign

     governments and as a Legislative Fellow to a U.S. Congressman (available here: PDF of

     URI Website).

  13. Remarkably, URI hired Professor Fosu to teach, among other things, a class on advocacy in

     institutions titled, “Topics in Political Science: Examining Institutional Power, Checks &

     Balances, and Advocacy for a More Equitable Society.” Yet when Professor Fosu taught his

     students how to advocate for equality at URI and encouraged his students to examine the

     institutional processes at URI, Defendants quickly reacted to silence Plaintiff, punished him


                                                  3
Case 1:21-cv-00279-JJM-PAS Document 1 Filed 07/02/21 Page 4 of 24 PageID #: 4




     for doing his job and immediately sought his removal based on trumped up charges of

     alleged misconduct.

  14. Rather than embracing its commitment to “critical conversations, thoughtful action, and

     collaboration between administration, faculty, staff and students,” Defendants circled the

     wagons and took immediate actions to intimidate and punish Professor Fosu by placing him

     on administrative leave, cancelling all his classes and finally terminating his employment.

     Plaintiff had dared to challenge URI and hold it accountable for its discriminatory record.

  15. When Plaintiff voiced his opinions about the undeniable and appalling lack of diversity

     in the faculty and administration at URI and criticized URI’s hypocrisy and pattern and

     practice of unlawful race discrimination in the hiring, treatment, and promotion of

     African Americans, Defendants retaliated against him hoping to silence his criticism.

  16. Defendants unlawfully restrained Professor Fosu’s free speech and terminated his

     employment, putting his professional career in jeopardy and damaging his reputation.

  17. This action seeks to vindicate Plaintiff’s First Amendment and other civil rights and to hold

     Defendants accountable for their misdeeds, which speak far louder than their hollow words

     of purportedly embracing diversity.

                                 NATURE OF THE ACTION

  18. Plaintiff is a professor who has been employed by URI from 2019 through June 2021.

  19. Upon his arrival at URI in early 2019, Professor Fosu was surprised by the lack of diversity

     in the faculty and administration at URI and did his best to improve diversity efforts at the

     school.

  20. When his students observed inequities at URI and in the community at large, Professor Fosu

     helped create a forum to discuss issues such as systemic racism and discriminatory hiring


                                                4
Case 1:21-cv-00279-JJM-PAS Document 1 Filed 07/02/21 Page 5 of 24 PageID #: 5




     practices. Professor Fosu worked with students and faculty to bring sensitive but deeply

     important racial issues to the attention of URI officials.

  21. Instead of meeting with the students and Professor Fosu to discuss URI’s practices,

     Defendants ignored and hid from the requests, attempting instead to shield themselves by

     silencing Plaintiff. URI smeared the contents of Professor Fosu’s advocacy work and

     without notice or reason, removed Professor Fosu’s classes from the course catalog and put

     him on administrative leave.

  22. URI then began an internal investigation to concoct a reason to pretextually terminate

     Professor Fosu for something other than suppression of his free speech and race

     discrimination. The investigation resulted in the issuance of a vague report that cites

     behaviors and actions that violated URI policies but does not attempt to link these policies

     to the alleged misconduct in any meaningful way. More importantly, the report explicitly

     sidesteps the constitutional rights and violations of federal law central to this lawsuit.

  23. By retaliating against Professor Fosu for exercising his constitutionally protected rights,

     Defendants violated his First Amendment right to free speech, deprived him of due process

     and equal protection of law under the Fourteenth Amendment, actionable pursuant to 42

     U.S.C. §1983, and violated his free speech and due process rights under Article 1, §§2 and

     21 of the Rhode Island Constitution.

  24. This lawsuit seeks to halt Defendants’ retaliation against Professor Fosu and to reinstate him

     to his position, directing Defendants to implement all necessary measures to ensure these

     retaliatory practices are not continued.




                                                 5
Case 1:21-cv-00279-JJM-PAS Document 1 Filed 07/02/21 Page 6 of 24 PageID #: 6




  25. Plaintiff also seeks, individually, compensatory damages commensurate with his injuries

     and punitive damages as legally permissible in an amount to be determined at trial, as well

     as the attorneys’ fees, costs and expenses related to this action.

  26. On April 28, 2021, Plaintiff filed charges with the U.S. Equal Employment Opportunity

     Commission (“EEOC”) asserting that Defendants have violated, and continue to violate,

     Title VII of the Civil Rights Act of 1964 (“Title VII”), 42 U.S.C. § 2000e et seq. Plaintiff

     intends to seek leave of the Court to amend this Complaint to add a cause of action against

     Defendants under Title VII based on the same operative facts and evidence supporting the

     claims in this Complaint after Plaintiff has exhausted the required administrative remedies.

  27. Plaintiff could wait no longer to file, however, and files this Complaint at this time in an

     effort to halt Defendants’ ongoing retaliation, intimidation and violations of federal law.

     See, e.g., Sughrim v. New York, No. 19-CV-7977 (RA), 36 (S.D.N.Y. Nov. 30, 2020), citing

     Woods v. Dunlop Tire Corp., 972 F.2d 36, 41 (2d Cir. 1992) (plaintiff “may file suit on the

     non-Title VII claims and then amend the complaint to include the Title VII claim after

     receiving a right-to-sue letter”).

  28. Among other things, Plaintiff is receiving (as recently as April 21, 2021) threatening and

     harassing email communications related to this action that he has reported to the FBI and

     that he hopes will cease once this Complaint is filed.

                                          JURISDICTION

  29. This Court has jurisdiction under 28 U.S.C. § 1331, 1343, 2201, 2202 and 42 U.S.C. §1983.

  30. The Court has supplemental jurisdiction over the state claims under 28 U.S.C. § 1367.




                                                6
Case 1:21-cv-00279-JJM-PAS Document 1 Filed 07/02/21 Page 7 of 24 PageID #: 7




  31. Plaintiff’s claims for declaratory and injunctive relief are authorized by 28 U.S.C. §§ 2201

     and 2202, by Rules 57 and 65 of the Federal Rules of Civil Procedure, and by the general

     legal and equitable powers of this Court.

                                               VENUE

  32. Venue is proper in this Court under 28 U.S.C. § 1391 since all the Defendants reside or

     may be found in the State of Rhode Island and because the events giving rise to Plaintiff’s

     claims took place within this District.

                                           PARTIES

  33. Plaintiff is a resident of the State of Rhode Island whose employment was terminated by

     URI.

  34. Defendant, URI is a public entity that exists as a division of the administrative

     government of the State of Rhode Island with its principal place of business being in the

     State of Rhode Island. Its principal campus is in Kingston, Rhode Island. As a public

     university, URI is mandated to comply with the First and Fourteenth Amendments to the

     U.S. Constitution.

  35. Defendant, Board of Trustees of the University of Rhode Island is a public corporation

     established for the management of URI, including in the capacity to sue, and the capacity

     to be sued for the relief requested herein.

  36. Defendant David M. Dooley is President of URI and is sued in his official and individual

     capacities based on his personal involvement in conduct that clearly violated Plaintiff’s

     rights under the First Amendment to the Constitution, which were clearly established at

     the time of his actions. Any objectively reasonable official would have believed that Mr.

     Dooley’s actions violated Plaintiff’s clearly established Constitutional rights.


                                                   7
Case 1:21-cv-00279-JJM-PAS Document 1 Filed 07/02/21 Page 8 of 24 PageID #: 8




  37. Defendant Donald DeHayes is Provost and Vice President for Academic Affairs at URI

     and is sued in his official and individual capacities based on his personal involvement in

     conduct that clearly violated Plaintiff’s rights under the First Amendment to the

     Constitution, which were clearly established at the time of his actions. Any objectively

     reasonable official would have believed that Mr. DeHayes’ actions violated Plaintiff’s

     clearly established Constitutional rights.

  38. Defendant Jeannette E. Riley is Dean of the College of Arts & Sciences and is sued in her

     official and individual capacities based on her personal involvement in conduct that

     clearly violated Plaintiff’s rights under the Fourteenth Amendment to the Constitution,

     which were clearly established at the time of her actions. Any objectively reasonable

     official would have believed that Ms. Riley’s actions violated Plaintiff’s clearly

     established Constitutional rights.

  39. At all relevant times, Defendants Dooley, DeHayes and Riley were servants, agents

     and/or employees of URI, who were responsible for enforcing the acts, policies, practices,

     and/or customs of URI, including the restriction on Plaintiff’s speech set forth in this

     Complaint. The individual Defendants were acting under color of state law when they

     took action to violate Plaintiffs’ federal and state constitutional rights: Each of them

     deprived Plaintiff of his constitutional rights, which were clearly established at the time

     of their actions, and any objectively reasonable official would have believed that the

     actions taken violated Plaintiff’s clearly established First Amendment rights to freedom

     of expression. In short, the individual Defendants have neither excuse nor immunity for

     violating Professor Fosu’s Constitutional rights.




                                                  8
Case 1:21-cv-00279-JJM-PAS Document 1 Filed 07/02/21 Page 9 of 24 PageID #: 9




  40. The individual Defendants’ acts were intentional, malicious, willful, wanton, and in gross

     and reckless disregard of Plaintiff’s constitutional rights.

                                             FACTS

  41. Professor Fosu is a policy expert and an advocate for women and minorities, who has

     devoted over two decades of his career to fighting for fair and equal treatment of

     marginalized groups in society.

  42. Professor Fosu obtained his law degree from the Georgetown University Law Center in

     2002. Before that, he received an M.B.A. from Pace University and a B.A. from John Jay

     College of Criminal Justice, CUNY.

  43. Professor Fosu has received consistently positive performance reviews and accolades

     from peers and supervisors throughout his career.

  44. URI first hired Plaintiff as a Visiting Assistant Professor in the Honors Department. See

     Offer Letter from URI, November 20, 2018, Exhibit 1. Plaintiff taught courses on

     leadership and political advocacy, and he assisted and encouraged his students in their

     advocacy pursuits.

  45. For example, in 2018, his students developed the website, “Love Social Change.” The

     website detailed various student-led campaigns on issues ranging from Improving Mental

     Health for URI Students to “Lead Poisoning: Advocacy for Rhode Island Schools.”

  46. In July 2019, based on his excellent performance during his first year of teaching at URI,

     URI invited Plaintiff to join the Political Science Department, in a Faculty of Practice

     appointment, in addition to its Honors Program. See Offer Letter from URI, July 1, 2019,

     Exhibit 2. The appointment runs through 2024-2025 and is contingent on an “annual

     evaluation/review of teaching and student advising performance.” See id.


                                                 9
Case 1:21-cv-00279-JJM-PAS Document 1 Filed 07/02/21 Page 10 of 24 PageID #: 10




                  Professor Fosu’s Efforts to Exercise His First Amendment Rights

   47. Starting in the Fall of 2020, Professor Fosu taught a class based on advocacy in

      institutions titled, “Topics in Political Science: Examining Institutional Power, Checks &

      Balances, and Advocacy for a More Equitable Society.”

   48. In this class, Professor Fosu educated students on aspects of advocacy campaigns and

      encouraged them to implement such campaigns. He also encouraged students to speak

      their mind, which students found empowering. Students were comfortable stating their

      opinions in the class, as it helped facilitate important discussions among opposing

      viewpoints.

   49. Professor Fosu encouraged students to apply the teachings of the course to their everyday

      lives, as issues and conflicts they experienced at school were microcosms of those in the

      community at large.

   50. In his course, Professor Fosu found that many of the students wanted to change and improve

      certain practices at URI. For example, students spotted issues and created presentations on

      issues ranging from "Increasing Diversity in Greek Life and Campus Community" to “Lack

      of Diversity in the Criminal Justice Department.” In the criminal justice presentation,

      students noted that “[t]here are no Latino, African American, Asian or other racial groups

      represented within the faculty in this department.”

   51. Because Professor Fosu values diversity, tolerance, and growth, he supported his students

      in creating a forum that would embody and clarify their concerns. The forum would have

      a broad umbrella mission and purpose to enact policy change not just at URI, but in the

      community at large. Professor Fosu worked tirelessly with his students to design and




                                                10
Case 1:21-cv-00279-JJM-PAS Document 1 Filed 07/02/21 Page 11 of 24 PageID #: 11




      create the forum based on student feedback. This forum became known as the Diversity

      Think Tank (“DTT”).

   52. On September 8th, 2020, the DTT was officially incorporated as a non-profit institution,

      and on October 13, 2020, the DTT went live online with a broad mandate. One vision of

      the DTT was:

       Creating dignified, diverse, enlightened, equitable and loving environments in
       academic institutions for African-Americans, Latinos and other marginalized
       people, by systematically identifying and ending organizational culture and
       policies that detriment racial equity, reinforce structural racism and condone
       metastasized racism in academic institutions.

   53. Once formed, the DTT expanded to include faculty members and staff, in addition to

      students. Both students and faculty participated in the DTT and, ultimately, as part of the

      mission of the DTT, they collaborated to produce a document that clearly and succinctly

      listed their grievances and recommendations.

   54. The document titled the Declaration of Diversity (“DOD”) was published online on

      October 24th, 2020.

   55. In the DOD, the authors were clear about their views and opinions on systemic racism,

      lack of diversity and racial inequities at URI.

   56. Professor Fosu sent the DOD to senior administration officials at URI, including

      Defendant Dooley, and to the URI Board of Trustees on October 26th, 2020. Professor

      Fosu also freely shared his opinions and criticisms about URI’s systemic race

      discrimination in the hiring, treatment and promotion of African Americans.

           URI’s Retaliation and Professor Fosu’s Sudden Removal and Dismissal

   57. The morning after Professor Fosu sent the letter to Defendant Dooley and other senior

      officials at URI, on October 27th, 2020, Defendant Riley emailed Professor Fosu about an


                                                 11
Case 1:21-cv-00279-JJM-PAS Document 1 Filed 07/02/21 Page 12 of 24 PageID #: 12




      alleged student complaint the Provost’s office had received regarding his class. Dr. Riley

      stated that the complaint was in regard to Professor Fosu cancelling class and concern over

      “the nature of [Fosu’s] email communications with the class.”

   58. When Professor Fosu tried to set up a meeting to understand the nature of the complaint,

      Defendant Riley responded, “There is no need to meet at this time.”

   59. The alleged student complaint was the only complaint that was ever brought to the attention

      of Professor Fosu during his time at URI.

   60. In fact, Professor Fosu had consistently received positive student reviews during his tenure.

   61. Professor Fosu had received positive reviews from his immediate supervisor as well, chair

      of the Political Science department, Professor Marc Hutchison, who observed Professor

      Fosu’s classes and evaluated his performance.

   62. On November 13, 2020, for example, Professor Hutchison wrote about Professor Fosu’s

      performance:

          Louis is able to generate consistent student engagement through his teaching style. He
          brings a high energy lecture style to the classroom and effectively mixes in humor. Louis
          did take attendance and the class was well-attended. And, despite the masks, he knew
          each student by name. Louis clearly has passion for the subject and his desire for
          thoughtful class discussion and the students were often able to feed off of his energy.
          His teaching was very effective in facilitating critical thinking, identifying the key legal
          concepts and casework, and connecting the relevance of those cases to the students’
          everyday life.

   63. Professor Fosu was shocked and surprised that he had received an alleged student complaint,

      and that this complaint coincidentally came immediately after transmission of the DOD to

      URI officials.

   64. Not intimidated by the veiled threat, Professor Fosu remained vocal about his intentions to

      advocate for change at URI and beyond, frequently discussing the matter with his peers,

      including members of the Political Science department.

                                                 12
Case 1:21-cv-00279-JJM-PAS Document 1 Filed 07/02/21 Page 13 of 24 PageID #: 13




   65. Professor Fosu continued to communicate his advocacy efforts to his immediate

      supervisor Professor Hutchison, who supported Professor Fosu’s efforts and never brought

      up any complaints about his advocacy or approach. To the contrary, Professor Hutchison

      praised Professor Fosu on his advocacy efforts and conveyed that he had visited the DTT

      website, had read the corresponding documents, and supported Professor Fosu’s efforts.

   66. On November 11, 2020, Professor Fosu emailed Professor Hutchison to let him know that

      he was making appointments internally and externally to advance the DTT advocacy.

   67. On December 6, 2020, Professor Fosu emailed Defendant DeHayes politely requesting that

      Defendant DeHayes meet with Professor Fosu’s students so that the students could practice

      their advocacy efforts, i.e., present their recommendations from the DOD to senior officials

      of the institution and argue for reform.

   68. The following day Defendant DeHayes, along with Defendant Dooley, sent a threatening

      email responding to Professor Fosu’s request stating:

          Normally we would be pleased to meet with any class to learn directly from
          students about the details of their class projects. In this case, however, it is clear
          that the document that you refer to as the Declaration of Diversity was written
          by you and represents your opinions being imposed on students and
          others…we are not willing to participate in this exercise, which appears to be
          designed primarily to support your platform rather than student learning.

   69. Defendant DeHayes copied URI’s General Counsel (who retired the next day) and at least

      four other people on that email.

   70. On January 12, 2021, when faculty and students were on break between semesters,

      Defendant DeHayes e-mailed Professor Fosu a letter indicating he had been placed on

      administrative leave, restraining him from participating in any further “teaching, mentoring,

      departmental and other activities.” The letter claimed that Defendant DeHayes reached out




                                                  13
Case 1:21-cv-00279-JJM-PAS Document 1 Filed 07/02/21 Page 14 of 24 PageID #: 14




      “multiple times” the day before, again when the campus was closed, but there was no notice

      given to Professor Fosu that such an abrupt and harsh action was coming.

   71. The letter mentioned alleged “serious concerns” and various alleged “complaints,

      allegations, reports,” but no written evidence was presented to Professor Fosu to verify

      whether these complaints, allegations or reports were real, or credible, and whether they

      warranted suspension of his classes and placing him on administrative leave.

   72. Professor Fosu was not afforded any opportunity to refute the allegations and was stripped

      of any procedural protections he was guaranteed under URI’s policies, practices, and

      procedures and by law.

   73. The punishment of placing Professor Fosu on administrative leave was extraordinary and

      unprecedented at URI. Professors who have been accused of actual serious misconduct have

      not been placed on administrative leave.       Neither have professors that have made

      provocative public remarks on issues of gender and sexuality.

   74. URI’s “University Manual” is written in a manner to evade consistent disciplinary action

      and evinces no clear guidance on Professor Fosu’s due process rights. For example,

      navigating to the University Manual online, the Manual cites to an Appendix containing

      “University Policies” but the 3 most important policies are nowhere to be found: “Grievance

      Procedures #83-15”, “Discrimination Complaint Process #85-1” and “Dismissal and

      Suspension of classified employees #83-21.” Even clicking on URI’s sexual harassment

      policy leads to an error message “Page Not Found” which is astonishing as victims of sexual

      harassment and discrimination seemingly have no clear and transparent intake channel to

      ensure due process (available here: PDF of URI Website).




                                               14
Case 1:21-cv-00279-JJM-PAS Document 1 Filed 07/02/21 Page 15 of 24 PageID #: 15




   75. Defendants’ actions of placing Professor Fosu on administrative leave without due process

      came as a surprise to students, faculty, and external observers.

   76. Mysteriously, at or about this same time, several faculty and students suddenly began

      disassociating themselves from the DTT and its advocacy efforts.

   77. Defendant DeHayes’ January 12, 2021, letter accused Professor Fosu of “coercion,

      exploitation, and intimidation relating to student expression,” which Professor Fosu found

      shocking and upsetting, as he had never intimidated students and has always wholeheartedly

      embraced students’ free expression and exchange of ideas. The letter went on to explicitly

      demean and discredit Professor Fosu as “hostile, disrespectful and/or non collegial as well

      as disruptive.”

   78. On January 22, 2021, Defendant DeHayes sent a memorandum to Jay Walsh (the URI

      teachers’ union representative), copying two other URI officials, in which Defendant

      DeHayes spread false accusations about Professor Fosu intimidating and pressuring

      students. The memorandum explicitly acknowledges that URI received no “written

      complaints per se concerning Mr. Fosu” but then goes on to attack Professor Fosu under

      the guise of alleged complaints made by unknown students, accusing him of intimidation,

      “retribution,” yelling, and using “misogynistic” language. The memorandum falsely labels

      Professor Fosu as “misogynistic and abusive” and alleges he “pressured or manipulated”

      students. Nothing is further from the truth.

   79. On April 16, 2021, Professor Fosu received another letter from Defendant DeHayes in which

      Defendant DeHayes posits more “complaints and reports of concern” from students and

      employees since the time Professor Fosu was placed on administrative leave. Defendant




                                                15
Case 1:21-cv-00279-JJM-PAS Document 1 Filed 07/02/21 Page 16 of 24 PageID #: 16




      DeHayes’ states he will personally appoint an outside investigator to investigate all the

      alleged complaints.

   80. In other words, more than three months after placing Professor Fosu on administrative leave,

      Defendant DeHayes ordered an investigation that was predetermined and pretextual, with

      the aim of providing cover to his retaliatory action and to ostensibly help make his “final

      decision” about Professor Fosu’s employment.

   81. The predetermined decision was carried out in a May 11, 2021, letter from Defendant

      DeHayes to Professor Fosu, informing Professor Fosu that URI was eliminating his position

      and attaching a copy of the final investigation report. In the letter, Defendant DeHayes,

      copying four other University officials, once again falsely accused Professor Fosu of

      “coercion, intimidation, and retaliation toward students” and “hostility, harassment, and

      disrespectful and threatening behavior toward colleagues.”

   82. The investigation report referenced by Defendant DeHayes alleges the violation of vague

      principles and policies by Professor Fosu in his use of URI’s IT resources and services and

      lists previously undisclosed complaints and concerns made by faculty and staff, some

      anonymous, with regards to Professor Fosu’s advocacy efforts.

   83. For example, the report cites to an unidentified source who claims that Professor Fosu

      frequently entered her office and made inappropriate, but “not aggressive,” comments about

      her skin and hair. The complaint itself is muddled and confusing. It never appeared in the

      correspondence from URI to Professor Fosu and it most certainly was never advanced by

      URI as a reason for its adverse actions.

   84. Ironically, on the same day that URI terminated Professor Fosu’s employment, May 11,

      2021, URI launched “Anti-Black Racism,” an initiative designed to advance an anti-racism


                                                 16
Case 1:21-cv-00279-JJM-PAS Document 1 Filed 07/02/21 Page 17 of 24 PageID #: 17




      agenda as a result of “recent dialogue” at the university. URI goes on to pledge to hire four

      new “diversity” coordinators and a cluster of diverse faculty hires in the College of Arts and

      Sciences. So, on the one hand, URI sought to intimidate and retaliate against students and

      faculty that were aligned with the DOD initiative and on the other hand, URI has set in

      motion a plan to adopt, at least on paper, the core principles of the DOD in a manner that is

      controlled and pleasing to URI officials.

   85. The only matter Professor Fosu can be accused of is speaking boldly and truthfully about

      systemic racism and diversity and inclusion. He expressed his views and refused to disavow

      his beliefs. In return, URI and the individual Defendants punished him and tried to silence

      him.

               Effects of Defendants’ Unconstitutional Actions on Professor Fosu

   86. Defendants’ retaliatory actions against Professor Fosu have caused him substantial harm in

      several ways.

   87. Plaintiff’s employment has been terminated posing devasting consequences for his career

      and professional reputation. Professor Fosu has a strong record as a Political Science

      Professor and academic. Because of Defendants’ actions, prospective employers will view

      Professor Fosu less favorably.

   88. Professor Fosu cannot rely on URI to give him a favorable recommendation, and URI’s

      decision to fire him reflects poorly on his ability as a professor. This makes it more difficult,

      if not impossible for Professor Fosu to obtain gainful employment in his profession and

      craft.




                                                  17
Case 1:21-cv-00279-JJM-PAS Document 1 Filed 07/02/21 Page 18 of 24 PageID #: 18




                                            COUNT I
             Violation of Plaintiff’s First Amendment Right to Freedom of Speech -
                                            Retaliation
                                        (42 U.S.C. § 1983)
                                     (Against all Defendants)

   89. Plaintiff hereby incorporates all paragraphs above as if set forth herein.

   90. At all material times, Professor Fosu was engaged in constitutionally protected activity,

      exercising his clearly established First Amendment right to advocate for diversity, justice,

      and inclusion at URI.

   91. Defendants placed Plaintiff on administrative leave and subsequently terminated his

      employment because he sought to discuss and offer input, opinions and proposals on race,

      diversity, and inclusion.

   92. Defendants, and each of them, violated and are continuing to violate Plaintiff’s First

      Amendment Rights by retaliating against him, past and present, for protected speech

      involving matters of public concern.

   93. Defendants retaliatory and unconstitutional actions taken against Professor Fosu

      constitute adverse employment actions.

   94. Professor Fosu’s interest, as a professor at a public university, in discussing matters of

      public concern, directed at certain school policies, offered in the context of teaching and

      scholarship, outweighs Defendants’ interest in the efficient provision of services.

   95. Any basis provided by Defendants that they placed Plaintiff on administrative leave and

      terminated him for anything other than his speech and as an advocate for African

      Americans – his protected class – is pretextual.




                                                 18
Case 1:21-cv-00279-JJM-PAS Document 1 Filed 07/02/21 Page 19 of 24 PageID #: 19




   96. Defendants’ adverse actions injured Plaintiff and his reputation, and Defendants’

      continuing actions threaten to restrain and prevent Plaintiff’s lawful speech in a way

      likely to chill an ordinary person from future lawful speech.

                                            COUNT II
                     Violation of Plaintiff’s Fourteenth Amendment Right to
                                  Procedural Due Process of Law
                                       (42 U.S.C. § 1983)
                                    (Against all Defendants)


   97. Plaintiff hereby incorporates all paragraphs above as if set forth herein.

   98. Professor Fosu’s speech is protected by the First Amendment and involved matters of

      public concern regarding the policies and practices at a public university.

   99. Plaintiff’s protected speech was a substantial or motivating factor in Defendants’ decision

      to place him on administrative leave and terminate his employment.

   100. Defendants retaliatory and unconstitutional actions taken against Professor Fosu

      constitute adverse employment actions that have deprived Plaintiff of a protected property

      interest. Plaintiff’s contract implies that so long as he receives favorable annual reviews,

      which he did, his contract would be renewed.

   101. Procedural due process requires, before a public-university professor like Professor Fosu

      can be terminated, that he be given notice and an opportunity for a hearing before an

      impartial tribunal.

   102. Defendants’ adverse employment action against Professor Fosu punished him for engaging

      in constitutionally protected expression in violation of Professor Fosu’s right to due process

      of law under the Fourteenth Amendment.

   103. Defendants’ actions violate the First and Fourteenth Amendments via 42 U.S.C. § 1983.



                                                 19
Case 1:21-cv-00279-JJM-PAS Document 1 Filed 07/02/21 Page 20 of 24 PageID #: 20




   104. As a direct and proximate result of Defendants’ unlawful activity, Plaintiff has suffered

      and continues to suffer economic and non-economic damages for which Defendants are

      liable.

   105. Defendants’ acts were willful, egregious, malicious, and worthy of substantial sanction to

      punish and deter Defendants and others from engaging in this type of unlawful conduct

      aimed at chilling Plaintiff and others like him from engaging in free speech that displeases

      Defendants.

                                             COUNT III
                     Violation of Plaintiff’s Fourteenth Amendment Right to
                                         Equal Protection
                                       (42 U.S.C. § 1983)
                                    (Against all Defendants)


   106. Plaintiff hereby incorporates all paragraphs above as if set forth herein.

   107. By reason of the aforementioned speech restriction, Defendants have unconstitutionally

      deprived Plaintiff of the equal protection of the law guaranteed under the Fourteenth

      Amendment to the U.S. Constitution and 42 U.S.C. § 1983, in that Defendants are

      preventing Plaintiff from expressing a message based on its content and viewpoint, thereby

      denying the use of a forum to those whose views Defendants find unacceptable.

   108. By punishing Plaintiff without a hearing and discipling him differently and more harshly

      than similarly situated professors at URI, Defendants have deprived Plaintiff his legitimate

      claim of entitlement to procedures of fundamental fairness.

   109. As a direct and proximate result of Defendants’ violation of the Equal Protection Clause of

      the Fourteenth Amendment, Plaintiff has suffered irreparable harm, including the loss of his

      constitutional rights, deprivation of his ability to teach and harm to his reputation, entitling

      Plaintiff to declaratory and injunctive relief and damages.

                                                 20
Case 1:21-cv-00279-JJM-PAS Document 1 Filed 07/02/21 Page 21 of 24 PageID #: 21




                                           COUNT IV
                     Violations of Article 1 of the Rhode Island Constitution
                                 (Article 1, Sections 2 and 21)
                                    (Against all Defendants)


   110. Plaintiff hereby incorporates all paragraphs above as if set forth herein.

   111. The actions of Defendants in retaliating against Professor Fosu for expressing his views on

      diversity and inclusion by placing him on administrative leave and terminating his

      employment without due process violated his rights under Article 1, Sections 2 and 21 of

      the Rhode Island Constitution.

   112. Article I, Section 21 of the Rhode Island Constitution states, “The citizens have a right in

      a peaceable manner to assemble for their common good, and to apply to those invested with

      the powers of government, for redress of grievances, or for other purposes, by petition,

      address, or remonstrance. No law abridging the freedom of speech shall be enacted.”

   113. Article 1, Section 2 of the Rhode Island Constitution states, “No person shall be deprived

      of life, liberty or property without due process of law, nor shall any person be denied equal

      protection of the laws. No otherwise qualified person shall, solely by reason of race, gender

      or handicap be subject to discrimination by the state, its agents or any person or entity doing

      business with the state.”

   114. The actions of Defendants in retaliating against Professor Fosu for expressing his views on

      diversity and inclusion by placing him on administrative leave and terminating his

      employment without due process violated his rights under Article 1, Sections 2 and 21 of

      the Rhode Island Constitution.




                                                 21
Case 1:21-cv-00279-JJM-PAS Document 1 Filed 07/02/21 Page 22 of 24 PageID #: 22




                                          COUNT V
                                          Defamation
                            (As to Defendants Dooley and DeHayes)


   115. Plaintiff hereby incorporates all paragraphs above as if set forth herein.

   116. The actions of Defendants DeHayes and Dooley, including but not limited to those

      described herein, in Defendant DeHayes’ January 12, 2021 letter and in Defendant

      DeHayes’ January 22, 2021 memorandum, constitute defamation insofar as the statements

      made by Defendants that Plaintiff was responsible for “coercion, exploitation, and

      intimidation” and that Plaintiff’s behavior was “hostile, disrespectful and/or non collegial

      as well as disruptive” and which resulted in his discipline were false and malicious, not

      privileged, imputed conduct which injuriously affected the Plaintiff’s reputation, and

      charged the Plaintiff with improper conduct, lack of skill, or integrity in his profession.

   117. Upon information and belief, Defendants have made other false and defamatory statements

      against Plaintiff that will be revealed through discovery in this action.

   118. Through their publications of these statements, Defendants intended to and did cause injury

      to the Plaintiff’s profession, causing him to suffer damages in an amount to be proven at

      trial.

                                           COUNT VI
                                        Breach of Contract
                                     (Against Defendant URI)


   119. Plaintiff hereby incorporates by all paragraphs above as if set forth herein.

   120. The written agreement between Defendant URI and Professor Fosu provided specifically

      for reappointments through 2024-25 based on a favorable annual evaluation, yet Defendant




                                                 22
Case 1:21-cv-00279-JJM-PAS Document 1 Filed 07/02/21 Page 23 of 24 PageID #: 23




      URI terminated Professor Fosu without cause just 2 months after he received a strong and

      favorable evaluation.

   121. URI’s breach of Professor Fosu’s employment agreement has caused him harm in an

      amount to be proven at trial.

                                        COUNT VII
                  Rhode Island Whistleblowers’ Protection Act RIGL § 28-50-4
                                 (Against all Defendants)


   122. Plaintiff hereby incorporates by all paragraphs above as if set forth herein.

   123. Defendants violated the Rhode Island Whistleblowers’ Protection Act with respect to

      Plaintiff by subjecting him to adverse work actions in retaliation for his protected activities.

      As a result, Professor Fosu has suffered and continues to suffer harm.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff seeks all remedies available pursuant to 42 U.S.C. § 1983, the

   Rhode Island Constitution, the Rhode Island Whistleblowers’ Protection Act and to remedy

   Defendants’ state law defamation and breach of contract claims including:

    A. A declaratory judgment that Defendants violated the First and Fourteenth Amendments of

        the U.S. Constitution because Professor Fosu engaged in protected speech;

    B. A preliminary and permanent injunction ordering Defendants sued in their official

        capacities, their agents, officials, servants, employees, and any other persons acting on their

        behalf:

        1. To cease their retaliatory conduct and

        2. To restore Professor Fosu to his position as Professor in URI’s Political Science

           Department;

    C. Nominal, compensatory, and punitive monetary damages, plus interest;



                                                  23
Case 1:21-cv-00279-JJM-PAS Document 1 Filed 07/02/21 Page 24 of 24 PageID #: 24




 D.     Professor Fosu’s reasonable attorneys’ fees, expenses, costs, and other disbursements in

        this action under 42 U.S.C. § 1988; and

 E.     All other further legal and equitable relief to which Professor Fosu may be entitled.

                                                       Plaintiff,
                                                       By his Attorneys

                                                       /s/ Jessica Sanderson

                                                       ___________________________
                                                       Jessica Sanderson
                                                       The Volkov Law Group, LLC
                                                       2200 Pennsylvania Ave, NW
                                                       Washington, DC 20037
                                                       (240) 505-1992
                                                       janderson@volkovlaw.com
                                                       Pending Pro Hac Vice Admission


                                                       /s/ Carly Beauvais Iafrate
                                                       ____________________________
                                                       Carly Beauvais Iafrate, #6343
                                                       Law Office of Carly B. Iafrate, PC
                                                       38 N. Court Street
                                                       Providence, RI 02903
                                                       (401) 421-0065
                                                       (401) 421-0964 (fax)
                                                       ciafrate@verizon.net




                                       CERTIFICATION

         The undersigned hereby certifies that this document has been filed electronically on this
 2nd day of July 2021 and is available for viewing and downloading to the ECF registered counsel
 of record.

                                                       /s/ Carly Beauvais Iafrate
                                                       ________________________




                                                  24
